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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION (CINCINNATI)


 RACHEL CARLOTTA,                        :
                                         :     CASE NO. 1:24-cv-00073
             Plaintiff,                  :
                                         :
 v.                                      :
                                         :
 HIGHER EDUCATION LOAN                   :
 AUTHORITY OF THE STATE OF               :     AMENDED STIPULATION OF
 MISSOURI, et al.,                       :     DISMISSAL WITH PREJUDICE
                                         :     CLAIMS BETWEEN PLAINTIFF
             Defendants.                 :     AND DEFENDANT EXPERIAN
                                         :     INFORMATION SOLUTIONS,
                                         :     INC. ONLY
                                         :
                                         :
                                         :
                                         :
                   ___________________________________________




       Pursuant to Rule 21 and Rule 41(a), Plaintiff Rachel Carlotta and Defendant Experian

Information Solutions, Inc., by and through their counsel, hereby stipulate that all matters and

claims against Defendant Experian Information Solutions, Inc. only should be dismissed, with

prejudice, with each party to bear their own costs and attorneys’ fees.




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                                  Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

       I certify that on July 10, 2024, a copy of the foregoing document has been served upon

counsel of record via the Court’s electronic filing system.




                                                 /s/ Brian P. Downey
                                                 Brian P. Downey




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